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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

ROGER MULLER,                                                  Case No. 1:20-cv-0002-GTS-TWD

                       Plaintiff,

               -vs-
                                                                  ORDER
NAES CORPORATION,

                       Defendant.


       Upon consideration of Defendant’s motion to seal,

       IT IS HEREBY ORDERED that Defendant’s motion to seal certain exhibits is granted in

its entirety. Consistent with this order, the Clerk is directed to file the following document partially

under seal: Exhibit A to the Declaration of Jessica F. Pizzutelli, Esq., dated November 8, 2021,

but only the following within Exhibit A: Exhibits 2, 4, 10, 11, 14, 16, 19, 21, 23, 25, and 27 from

the deposition of Plaintiff Roger Muller taken on June 10, 2021.




                                                       ____________________________________
                                                       Glenn T. Suddaby
                                                       United States District Judge
DATED:          11/10/2021
               ___________________
